       Case 1:22-cv-00080-TSK-MJA Document 1 Filed 08/30/22 Page 1 of 5 PageID #: 1



                                 IN THE UNITED STATES DISTRICT COURT                                   FILED
                              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                                                                                     AUG 302022
                                                                                               VS. DISTRICT COURT.WVND
                                                             *
Steven Robert Brown                                                                             CLARKsSuRG WV 26301

211 Grant Aye, Rm 203-A

                                                             *
Morgantown, WV 26505-4933
(Full name and address of the plaintiff)
                             Plaintiff(s)

                             vs.                             *          Civil No.:     i: ~ ~ CA! ~O
                                                                        (Leave blank. To be filled in by Court.)
Bureau of Alcohol, Tobacco, Firearms, and

                                                             *
Explosives


Patrick Morrisey, West Virginia Attorney General

                                                             *
Merrick Brian Garland,     U.S. Attorney General

Steven   Michael Dettelbach, Director of the ATF
(Full name and address of the defendant(s))
                                                             *
                                    Defendant(s)
                                                        ******



                                                     COMPLAINT

          1.        Jurisdiction in this case is based on:

                    ~        Diversity (none of the defendants are residents of the state where plaintiff is a
                             resident)

                    I~j      Federal question (suit is based upon a federal statute or provision of the United
                             States Constitution)

                    D        Other (explain) _______________________________________________




complaint (Rev. 12/2000)                                1
Case 1:22-cv-00080-TSK-MJA Document 1 Filed 08/30/22 Page 2 of 5 PageID #: 2




Bureau of Alcohol, Tobacco, Firearms, and Explosives
99 New York Avenue NE
Washington, DC 20226


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Charleston, WV 25305
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capacity
950 Pennsylvania Avenue NW
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       Case 1:22-cv-00080-TSK-MJA Document 1 Filed 08/30/22 Page 3 of 5 PageID #: 3


         2.         The facts of this case are:

                    West Virginia Code §61-7-3 and associated gun law in the state of West Virginia requires

                    that individuals below the age of 21 obtain a concealed handgi~in license before carrying

                    a concealed firearm. Plaintiff was required to complete pistol training and pay a fee for the

                    issuance of a provisional concealed handgun license, with total costs totalling more than

                    one-hundred fifty dollars. By contrast, individuals age 21 or older are not required to obtain

                    a concealed handgun license in order to carry a concealed weapon. New York State Rifle

                    & Pistol Association, Inc. v. Bruen (2022) establishes that the right to carry a concealed handgun

                     is protected by the 2nd and 14th Amendments to the U.S. Constitution. Plaintiff argues that

                    West Virginia’s requirements are discriminatory on the basis of age alone, and violate

                     both the 2nd Amendment right to bear arms and the Equal Protection Clause of the 14th

                     Amendment. Adults below the age of 21 are required to pay a fee in order to exercise a

                    fundamental constitutional right, a fee that adults ages 21 and older are not subject to.

                     Adults between the ages of 18 and 20 are also subject to criminal penalties for possessing

                     a concealed deadly weapon without a license that adults ages 21 and older are not

                     subjected to.

                     Patrick Morrisey is the Attorney General of the State of West Virginia. The damages are

                     requested to cover the cost of filing a lawsuit, the concealed handgun license application

                     fee, and the cost of National Rifle Association pistol training.




Complaint (Rev. 12/2000)                                     2
 Case 1:22-cv-00080-TSK-MJA Document 1 Filed 08/30/22 Page 4 of 5 PageID #: 4




 The Gun Control Act of 1968 restricts the sale of all firearms other than
 rifles and shotguns to individuals ages 21 and older at Federal Firearms
 Licensees. Plaintiff would like to purchase a Bersa Thunder 380
 handgun for purposes of self-defense, but was denied a sale at an FFL on
 basis of age alone, despite possessing a valid concealed handgun license
 issued by the state of West Virginia. Plaintiff alleges that provisions of
the Gun Control Act of 1968 restricting certain gun sales to age 21
violate the 2’~ Amendment, as well as due process and equal protection
 as the rights of adults under the age of 21 are restricted without adequate
justification or due process of law. Plaintifl who is aged 18, can also not
have their handgun (which was legally purchased intrastate) repaired at a
FFL, as FFLs are prohibited from transferring firearms other than rifles
 and shotguns to individuals under the age of 21.


Portions of2l U.S. Code § 387f and 42 U.S. Code § 300x—26 establish a
federal minimum age of2l for the sale of tobacco products and penalties
to mental health funding grants for states which do not enforce the sale
age. Plaintiff alleges that these provisions violate the 1 0th Amendment,
and that Congress does not have the Commerce Clause authority to set a
minimum tobacco age. Congress’s direct use of the Spending Clause to
pressure states to enforce federal regulations/laws is commandeering and
violates the 10th Amendment. Unlike the National Minimum Drinking
Age Act, these provisions do not pressure states to adopt a minimum
smoking age of 21, but rather pressure them to directly enforce federal
law. West Virginia state law still provides for a smoking age of 18.
Plaintiff is prohibited from purchasing tobacco products as a direct result
of this federal law, and believes that they have standing to sue under
Bond v. United States (201 1), in that Congress’ disregard for the
structure of American government restricts the liberty of the plaintiff.
       Case 1:22-cv-00080-TSK-MJA Document 1 Filed 08/30/22 Page 5 of 5 PageID #: 5


          3.         The relief I want the court to order is:

         ~           Damages in the amount of:Five-hundred seventy-one dollars and zero cents

          ~E1        An injunction ordering: that handgun purchases and constitutional carry be permitted at
                     age 18; unconstitutional provisions of 21 U.S.C. § 387f and 42 U.S.C. § 300x—26 struck down


         E           Other (explain) _______________________________________________________




  ~                  2U22                                      __________


(Date)
                                                                         (Signature)

                                                                Steven   Robert   Brown


                                                                211   Grant   Aye, Rm 203-A

                                                                Morgantown,      WV 26505-493 3

                                                                (304) 991-9499
                                                                (Printed name, address and phone number of
                                                                Plaintiff)




                               Privacy Rules and Judicial Conference Privacy Policy ~

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contain an individual’s social security number, full birth date, or home address; the full name of person
known to be a minor; or a complete financial account number. These rules address the privacy concerns
resulting from public access to electronic case files.




complaint (Rev. 12/2000)                                  3
